                                                                                    United States District Court
                                                                                      Southern District of Texas

                             UNITED STATES DISTRICT COURT                                ENTERED
                              SOUTHERN DISTRICT OF TEXAS                                 June 14, 2018
                                  HOUSTON DIVISION                                    David J. Bradley, Clerk




UNITED STATES OF AMERICA,                         '
                                                  '
vs                                                '           Criminal H 18-306
                                                  '
Juan Montoya-Palacios                             '                      Judge Vanessa D. Gilmore
Isael Juan-Perez                                  '
                                                  '

                                          SCHEDULING ORDER

1. MOTIONS will be filed by                                          July 5, 2018

2. RESPONSES will be filed by                                        July 16, 2018

3. Proposed voir dire and charge to be filed by                      August 10, 2018

4. PRETRIAL CONFERENCE is set for                                    August 13, 2018
                                                                     at 9:30 a.m.

5. JURY selection and TRIAL set for                                  August 20, 2018
                                                                     at 1:30 p.m.

6. Speedy trial limits waived? (yes/no)                              no/yes

7. Estimated Trial Time                                               3 days

Direct questions about this schedule to BYRON THOMAS, Case Manager to United States District Judge
Vanessa D. Gilmore at Byron_Thomas@txs.uscourts.gov (713) 250-5512.
                    6/14/2018
       SIGNED ON _____________________________________ at Houston, Texas.



                                                            United States Magistrate Judge

______________________________
Assistant United States Attorney


______________________________                         ______________________________
Attorney for Defendant                                 Defendant


______________________________                         ______________________________
Attorney for Defendant                                 Defendant
                                         CRIMINAL PROCEDURES


PRETRIAL MATERIALS

Pretrial materials will be filed as follows:

In duplicate: proposed voir dire to jury panel; proposed jury charge; legal memoranda citing issues to be
tried with authorities.



PLEAS OF GUILTY

Once a plea agreement is reached, counsel should notify the case manager immediately for setting of a
rearraignment.

The U. S. Attorney’s Office should complete and deliver the Sentence Data Sheet and Plea of Guilty form
to this Court’s Chambers no later than 2 working days prior to the rearraignment.
